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Melanie J. Vartabedian (#10148)
BALLARD SPAHR LLP
One Utah Center, Suite 800
201 South Main Street
Salt Lake City, Utah 84111-2221
Telephone: (801) 531-3000
Facsimile: (801) 531-3001
vartabedianm@ballardspahr.com

William P. Reiley (NJ # 128872014)
(admitted pro hac vice)
BALLARD SPAHR LLP
700 East Gate Drive, Suite 330
Mount Laurel, NJ 08054-0015
Telephone: (856) 761-3465
Facsimile: (856) 761-1020
reileyw@ballardspahr.com

Attorneys for Defendants,
Vivint, Inc. and RS&I, Inc.



                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


MARK FITZHENRY, individually and on
behalf of a class of all persons and entities   STIPULATED NOTICE OF
similarly situated,                             DISMISSAL

               Plaintiffs,

v.                                              Case No.: 2:21-cv-00501-DAK-CMR

                                                District Judge Dale A. Kimball
VIVINT, INC., RS&I, Inc., and JOHN DOE
CORPORATION                                     Magistrate Judge Cecilia M. Romero
               Defendants.
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       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Mark Fitzhenry, by

and through undersigned counsel, and Defendants Vivint, Inc. and RS&I, Inc., by and through

undersigned counsel, hereby stipulate and agree that this matter shall be dismissed with

prejudice, with each party to bear its own attorneys’ fees and costs.

       DATED this 3rd day of August 2022.



                                              /s/ Melanie J. Vartabedian
                                              Melanie J. Vartabedian, Esq.
                                              William P. Reiley, Esq.
                                              BALLARD SPAHR LLP
                                              Attorneys for Defendants, Vivint, Inc. and RS&I,
                                              Inc.



                                              /s/ Jonathan P. Misny
                                              Jonathan P. Misny, Esq.
                                              Brian K. Murphy, Esq.
                                              Jared B. Pearson, Esq.
                                              Attorneys for Plaintiff, Mark Fitzhenry




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